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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


    _______________________________________

    DEBORAH K. MURPHY-DAVIDSON, an
    individual,

                Plaintiff/Counter-Defendant,

         v.                                          File No. 1:14-CV-779

    KENNETH J. STOLL, an individual,
    and COMFORCARE SENIOR SERVICES
    MID MICHIGAN, a limited liability
    company,

              Defendants/Counter-Plaintiffs.
    _______________________________________/


                                 Motion Hearing

    Before

                           THE HONORABLE RAY KENT
                       United States Magistrate Judge
                              October 25, 2016


                                  APPEARANCES



    FREDERICK J. BONCHER                       THOMAS A. GINSTER
    SUSAN KNOLL                                203 S. Lafayette
    601 Three Mile Rd., NW                     P.O. Box 206
    Grand Rapids, MI 49544                     Greenville, MI 48838
    Attorney for Plaintiff/                    Attorney for Defendants/
    Counter-Defendant                          Counter-Plaintiffs



    Digital audio recording transcribed by:

    Kevin W. Gaugier, CSR-3065
    U.S. District Court Reporter
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 1                                                   Grand Rapids, Michigan

 2                                                   October 25, 2016

 3                                                   1:03 p.m.

 4                                 -     -     -

 5

 6                           P R O C E E D I N G S

 7

 8               THE COURT:     Good afternoon.     This is case 14-CR-779,

 9   Murphy-Davidson v. Stoll, et al.         Mr. Boncher and Ms. Knoll
10   appear on behalf of Ms. Murphy-Davidson and Mr. Ginster on

11   behalf of defendants Stoll and ComForcare.

12               Mr. Ginster, a lawyer -- I'm sure you know this, but

13   a lawyer named Liisa Speaker filed an appearance this week.

14   What will her role in the case be if you --

15               MR. GINSTER:     She's ComForcare and Mr. Stoll's

16   appellate counsel, Your Honor.

17               THE COURT:     All right.    Thank you.

18               All right.     We're here this afternoon on a number of

19   motions, including defendants' motion to set aside the

20   judgment.     I guess it's really a motion for -- defendants'

21   motion for judgment as a matter of law, new trial, or

22   remittitur.     We're also here on plaintiff's motion for new

23   trial on the issue of damages on the assault and battery

24   claim, and Mr. Boncher, for new trial on the -- it wasn't cast

25   this way or captioned this way, but you're also asking for a
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 1   new trial on the --

 2               MR. BONCHER:     Damages for stalking.

 3               THE COURT:     Well, they found against you on

 4   stalking, didn't they?

 5               MR. BONCHER:     Yes, they did.

 6               THE COURT:     So are you asking for --

 7               MR. BONCHER:     I guess --

 8               THE COURT:     -- a new trial on the stalking claim?

 9               MR. BONCHER:     Well, we actually thought that that
10   was against the great weight of the evidence.           We have a

11   motion for, yeah, for new trial on the stalking, I guess.

12               THE COURT:     I can't -- I can't -- if it was limited

13   to the -- if you had a trial on damages, there would be no

14   trial because there's no liability.

15               MR. BONCHER:     That's true.

16               THE COURT:     The jury found --

17               MR. BONCHER:     Yeah, that would be a whole new trial

18   or a judgment -- basically a judgment as a matter of law on

19   stalking notwithstanding the verdict of no stalking.             But I

20   understand it's a little confusing, Your Honor.            I guess

21   primarily we want a new trial just on the issue of damages for

22   the assault and battery, and I guess I can waive the stalking

23   issue at this point, make it easier for the Court.

24               THE COURT:     Well, I'm just asking what the intent

25   was because you asked for --
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 1               MR. BONCHER:     I think we want a new trial on

 2   stalking because we think the decision was against the great

 3   weight of the evidence.

 4               THE COURT:     Okay.

 5               MR. BONCHER:     We want a new trial on damages alone

 6   for assault and battery because that was undisputed damages.

 7               THE COURT:     And that's what I thought you were

 8   asking for, so --

 9               MR. BONCHER:     Yeah, yeah.
10               THE COURT:     All right.    Then we also have

11   plaintiff's request for sanctions, plaintiff's motion for a

12   bill of costs.     I have reviewed the parties' filings, and

13   those would include the following items.          Did I say

14   remittitur?     I think I did, Mr. Ginster.

15               MR. GINSTER:     You did, Your Honor.

16               THE COURT:     Okay.   I've reviewed -- read and

17   reviewed the parties' filings, and those would include ECF 95,

18   which is defendants' motion for new trial or remittitur or

19   judgment as a matter of law, some 12 pages in length, 18 pages

20   of attachments, and 347 pages of exhibits.

21               Plaintiff's response to that motion, ECF 101, and

22   her attached brief in support of the response and in support

23   of her counter-motion for a partial new trial on damages for

24   assault and battery and stalking and for sanctions.             That is

25   ECF 102, 20 pages in length, 78 pages of attachments.
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 1               ECF 103, plaintiff's motion for new trial for

 2   damages only for assault and battery and stalking and

 3   sanctions, which is supported by ECF 102, the brief, which

 4   kind of is apparently intended as a dual-purpose brief both in

 5   opposition to defendants' motion and in support of plaintiff's

 6   motion.

 7               I've reviewed ECF 106, defendants' response to

 8   plaintiff's motion for new trial and for sanctions, 18 pages;

 9   ECF 112, plaintiff's reply to defendants' response to
10   plaintiff's motion for sanctions, eight pages plus 14 pages of

11   attachments; ECF 115, plaintiff's proposed brief in reply to

12   defendants' brief in opposition to plaintiff's motion for a

13   new trial, ten pages, 55 pages of attachments; ECF 116,

14   supplement to plaintiff's reply brief regarding motion for new

15   trial or damages, three pages, 37 pages of attachments.

16               On the bill of costs I reviewed the bill itself, ECF

17   97, two pages, 18 pages of attachments; ECF 98, plaintiff's

18   brief in support of bill of costs, seven pages with 46 pages

19   of attachments; and ECF 100, defendants' motion to disallow a

20   portion of the claimed costs.        The motion itself is two pages,

21   supporting memorandum is six, and there are ten pages of

22   attachments.

23               Is there anything else that I haven't mentioned that

24   the parties think that I should have received and reviewed

25   before the hearing here today, Mr. Boncher?
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 1               MR. BONCHER:     I don't believe so, Your Honor.

 2               THE COURT:     Mr. Ginster?

 3               MR. GINSTER:     Your Honor, I just tendered to counsel

 4   and brought extra copies of the Restatement I should have

 5   attached.     This is the Restatement of Torts Second pertaining

 6   to intentional infliction.

 7               THE COURT:     Okay.   All right.

 8               MR. GINSTER:     Give these to Mr. Dion?

 9               THE COURT:     You may.    You may.   And these should
10   have been attached to which brief, the -- that would be --

11               MR. GINSTER:     Our initial motion for a new trial,

12   Your Honor, or -- I'm sorry, yeah.

13               THE COURT:     So ECF 95?

14               MR. GINSTER:     That's correct, Your Honor.

15               THE COURT:     All right.    As I say, I've reviewed all

16   of the filings which I just identified.           I don't feel the need

17   for oral argument.      I'm prepared to announce my decision now.

18               As Judge Cohn recently observed in a case in the

19   Eastern District, the case being MSC Software Corporation v.

20   Altair Engineering, Inc. -- Jim, do we have an F.3d cite for

21   this or just the Westlaw cite?         I'll give you the West -- it's

22   2014 Westlaw 6485492, signed November 13, 2014.

23               "Under Federal Rule of Civil Procedure 59(a), a

24   court may grant a motion for new trial 'for any of the reasons

25   for which new trials have heretofore been granted in actions
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 1   at law in the courts of the United States.'           This rule has

 2   been construed as encompassing such grounds as a verdict

 3   against the clear weight of the evidence, an inconsistent

 4   verdict, an excessive award of damages, an error of law during

 5   the trial, or prejudicial misconduct by the court, opposing

 6   counsel, or a juror that deprived the moving party of a fair

 7   trial."    Judge Cohn goes on to note that:         "It is clear that a

 8   court has broad discretion to decide whether to grant a new

 9   trial."
10               It is my finding based upon the evidence admitted at

11   trial and the parties' extensive filings in this case which we

12   have just inventoried that the jury's verdict in this case was

13   inconsistent, and I say that for the following reason.             The

14   jury found for plaintiff on the intentional infliction of

15   emotional distress count.        The only conduct which would have

16   provided a basis for the jury's verdict on that count is the

17   very same conduct that supported plaintiff's claim on the

18   stalking count and plaintiff's claim on the assault and

19   battery count, and yet on the stalking count the jury found

20   for the defendants.      On the assault and battery count the jury

21   found that an assault and battery had occurred, but concluded

22   that it was not the proximate cause of any injury to the

23   plaintiff.

24               There is no way that the jury's verdicts on Counts 1

25   and 2 can be reconciled with its verdict on Count 3, and for
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 1   that reason I am granting the motion, defendants' motion for

 2   new trial, ECF 95, on the issue of intentional infliction of

 3   emotional distress.      I am also granting defendants' (sic)

 4   motion, ECF 103, for new trial on both the stalking claim and

 5   also the assault and battery claim.

 6               So it looks like we're going to tee this up and do

 7   it again.     I have a date somewhere here.       April -- our

 8   tentative new trial date will be April the 10th, 2017.

 9               MR. BONCHER:     Your Honor, I know that I'm going to
10   be out of the country at that time.

11               THE COURT:     Okay.   Do you know how long you'll be

12   gone?

13               MR. BONCHER:     Yeah.   I'm gone through the 16th of

14   April, I think, two weeks down in Mexico.

15               THE COURT:     Okay.   My backup date was April 24.         Any

16   problem with that?

17               MR. BONCHER:     I don't think so.

18               THE COURT:     You know, if something comes up,

19   obviously I will be understanding.

20               Mr. Ginster, does the 24th work for you?

21               MR. GINSTER:     I believe so, Your Honor.

22               THE COURT:     Okay.   All right.    So I will issue a

23   judgment accordingly.       Any questions, comments, concerns, Mr.

24   Boncher?

25               MR. BONCHER:     I don't believe so, Your Honor, no.
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 1               THE COURT:     All right.    Mr. Ginster, anything from

 2   you, sir?

 3               MR. GINSTER:     No, Your Honor.

 4               THE COURT:     Okay.   All right.    We'll be adjourned.

 5   Thank you.

 6                   (Proceedings concluded at 1:15 p.m.)

 7                                 *     *     *

 8                          CERTIFICATE OF REPORTER

 9
10               I, Kevin W. Gaugier, Official Court Reporter for the

11   United States District Court for the Western District of

12   Michigan, appointed pursuant to the provisions of Title 28,

13   United States Code, Section 753, do hereby certify that the

14   foregoing is a true and correct transcript of the proceedings

15   had in the within-entitled and numbered cause on the date

16   hereinbefore set forth.

17               I do further certify that the foregoing transcript

18   was prepared by me.

19

20

21

22   /s/   Kevin W. Gaugier

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